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SPECIAL LEGAL MAIL —
Open in Inmate Presence Only

   

ST. CHARLES

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Michael John Sarno January 8, 2016
Federal Correctional Complex

Inmate #01042-424

PO Box 1000

Petersburg, VA 23804

Dear Mr, Sarno:

On January 4, 2016, we received your Freedom of Information request for police records.

You requested the following:
“Any and all interview notes regarding St. Charlies Police Department Officer Jerry Gatlin, or
others, interviewing Mark Hay, during the year of 2003.

This interview is specifically referenced in an affidavit by Commander Gatlin, dated December
2015.”

There is no reference to a 2003 interview in Commander Gatlin’s affidavit of December 15, 2015.

However, Commander Gatlin’s affidavit did refer to information which he received fram Mark Hay. It is
unspecified as to the year, That information was received during an interview in 2004.

We have released Commander Gatlin’s unredacted notes from that 2004 interview.
Should you have any questions, please do not hesitate to contact me.

Sincerely,/
J, Sf
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TL AMS fSO'4 MLE

Kim Schult, Police Records Division Manager / FOIA Officer
630-377-4435
kschult@stcharlesil.gov

FAMES ‘T. KEEGAN = COlef af Votive

211 Noern RIVERSIDE AVENUE St. Chagies, TL 60374 Prone: 630-377-4435 Fax: 630-377-1078

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